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UNITED STATES DISTRICT COURT                                EASTERN DISTRICT OF TEXAS


TARA THOMAS,                                    §
                                                §
                       Plaintiff,               §
                                                §
versus                                          §           CIVIL ACTION NO. 1:15-cv-387
                                                §
MAXIE SPROTT,                                   §
                                                §
                       Defendants.              §

                ORDER ADOPTING REPORT AND RECOMMENDATION
                    OF UNITED STATES MAGISTRATE JUDGE

         The court has received and considered the report and recommendation of the magistrate

judge, which recommends that the court dismiss Plaintiff Tara Thomas’s cases for failure to

prosecute. (Doc. No. 5.)        No objections were filed to the magistrate judge’s report and

recommendation, and the time for doing so has passed.

         It is, therefore, ORDERED that the magistrate judge’s report and recommendation (Doc.

No. 5) is ADOPTED and the following cases are dismissed without prejudice: 1:15-cv-00387;

1:15-cv-00388; 1:15-cv-00389; 1:15-cv-00390; 1:15-cv-00394; 1:15-cv-00395; 1:15-cv-00393;

1:15-cv-00398; 1:15-cv-00399; 1:15-cv-00401; 1:15-cv-00402; 1:15-cv-00410; 1:15-cv-00412;

1:15-cv-00413; 1:15-cv-00418; 1:15-cv-00419; 1:15-cv-00428; 1:15-cv-00429. The clerk of

court is. directed to close these cases and terminate all pending motions.
       SIGNED at Beaumont, Texas, this 7th day of September, 2004.
      SIGNED at Beaumont, Texas, this 11th day of July, 2016.




                                         ________________________________________
                                                     MARCIA A. CRONE
                                              UNITED STATES DISTRICT JUDGE
